                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA




 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:07-cr-84-027
 vs.                                                  )
                                                      )       JUDGE JORDAN
 BRADLEY OVERTON                                      )       MAGISTRATE JUDGE LEE
                                                      )



                              REPORT AND RECOMMENDATION


         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on March 10, 2008.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One and entered a plea

 of guilty to the lesser included offense of the charge in Count One, that is of knowingly conspiring

 and agreeing with others to manufacture, distribute, and to possess with the intent to distribute a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. § 846 in exchange for the undertakings made by the government

 in the written plea agreement. On the basis of the record made at the hearing, I find the defendant

 is fully capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; the defendant

 understands the nature of the charge and penalties provided by law; and the plea has a sufficient

 basis in fact.



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        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One be granted, his plea of guilty to the lesser included offense of the charge in Count One, that is

 of knowingly conspiring and agreeing with others to manufacture, distribute, and to possess with

 the intent to distribute a mixture and substance containing a detectable amount of methamphetamine,

 a Schedule II controlled substance, in violation of 21 U.S.C. § 846 be accepted, the Court adjudicate

 defendant guilty of the lesser included offense of the charge in Count One, that is of knowingly

 conspiring and agreeing with others to manufacture, distribute, and to possess with the intent to

 distribute a mixture and substance containing a detectable amount of methamphetamine, a Schedule

 II controlled substance, in violation of 21 U.S.C. § 846, and a decision on whether to accept the plea

 agreement be deferred until sentencing. I further RECOMMEND defendant remain in custody until

 sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea

 agreement, and imposition of sentence are specifically reserved for the district judge.



                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
 objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
 in this matter. See 28 U.S.C. §636(b).




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